UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Kwaine Thompson

                                Plaintiff,                    23-CV-02102
                                                          WAIVER OF SERVICE OF
                    -against-
                                                          SUMMONS UNEXECUTED

The City of New York et al

                                Defendant(s).

         The New York City Department of Correction declines on behalf of the defendants listed below to waive

service of the summons and complaint in this case and for each defendant provides a brief explanation as to why

service is not being waived.

Defendant’s name                                    Reason service not waived



Assit. Comm. Christoper Mill                       No longer an employee of the agency

Warden Karen Collins                                No longer an employee of the agency

Capt. Palmero                                      No matches with this name in agency

 CO Taylor                                         Common name/Need more information for identification

CO Walter McNeil                                   Retired 02/02/21

Nurse Blount                                       Not an employee of the agency




                                                S/
Dated:
                  October 22, 2024              Howard Sterinbach
                                                Assistant General Counsel
                New York, New York
                                                New York City Department of Correction
                                                718-546-0816
